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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEW JERSEY

      IN RE:                                                :       CASE NOS.:     08-14631 (GMB)
                                                            :                      08-14632
      SHAPES / ARCH HOLDINGS, LLC et al.                    :                      08-14633
                                                            :                      08-14634
                              Debtors.                      :                      08-14635
                                                            :       Chapter 11 Proceedings
                                                            :       Jointly Administered
                                                    :
                                                            :       Hearing Date: May 27, 2008
                                                                                  10:00 a.m.
                                                                    Oral Argument Requested if Opposed

       NOTICE OF MOTION TO COMPEL PAYMENT OF AN ADMINISTRATIVE EXPENSE
                  CLAIM PURSUANT TO 11 U.S.C. §503(a) and §503(b)(9)

                  PLEASE TAKE NOTICE that Cooper Electric Supply Co. (“Cooper”), a creditor

      and party-in-interest in the above-referenced matter, by and through its attorneys, Nord &

      DeMaio, respectfully moves for an Order compelling the payment of Cooper’s administrative

      expense claim pursuant to Sections §503(a) and §503(b)(9) of Title 11 of the United States

      Bankruptcy Code (“Code”), and D.N.J. LBR 9013-1.

               PLEASE TAKE FURTHER NOTICE that Plaintiff shall rely upon the within

      Application, Certification of Johnese Dorsey, and the exhibits annexed thereto.

                                                            NORD & DeMAIO
                                                            Attorneys for Cooper Electric Supply, Co.

                                                            BY: /s/ Michael Stafford           .
      Dated: April 23, 2008                                      Michael J. Stafford, Esq. (MJS-2700)
